Case 1:05-cr-00394-RBW Document 98 Filed 04/27/06 Page 1 of 1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA F| LED
APR 9-7 2006
) NANCY MAYER Wi
UNITED STATES OF AMERICA, ) us. yearn, CLERK
)
)
v. ) Criminal No. 05-394 (RBW)
)
1. LEWIS LIBBY, )
)
Defendant. )
)

ORDER
Currently before the Court is the Motion of I. Lewis Libby to Dismiss the Indictment. For
the reasons set forth in the accompanying Memorandum Opinion, it is hereby this 27th day of
April, 2006,
ORDERED that the defendant’s motion to dismiss is DENIED.
“Regoit B. Walton
United States District Coun

SO ORDERED.

